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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


CAMPAIGN LEGAL CENTER,

             Plaintiff,

      v.                                          Civil Action No. 18-cv-1771

UNITED STATES DEPARTMENT OF
JUSTICE,

             Defendant.


                                              ORDER

       For the reasons stated in the accompanying Memorandum Opinion, ECF No. 79, Plaintiff’s

Cross-Motion for Summary Judgment, ECF No. 65, and Defendant’s Cross-Motion for Summary

Judgment, ECF No. 68, are GRANTED IN PART are DENIED IN PART. It is ORDERED that

Defendant must provide by April 30, 2025, an additional declaration as to why documents within

the “Deliberative Discussions Regarding the Census and/or American Community Survey”

category are within the scope of the deliberative process privilege. It is FURTHER ORDERED

that Defendant must produce, also by April 30, 2025, to Plaintiff the two unredacted comment

bubbles withheld in the “Draft United States Commission for Civil Rights’ Interrogatories”

category.




Date: March 31, 2025

                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge

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